Case 4:17-cr-OO462-.]SW Document 10 Filed 09/08/17 Page 1 of 1

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA
OAKLAND DIVISION

assess Qra 17- ae,z 1331/0

United States of Arnerica,

STIPULATED ORDER EXCLUDH\IG
TIME UNDER THE SPEEDY TRIAL ACF I L E D

Pfaz`ntiff,

V.
k§@\O 'W>t~<-@e net-sandlez

Defendant.

\.,/\../\_/\./\../\_/\\./

SEP -8 2017

SUSAN Y. SCJONG
For the reason stated b the parties on the record on 611 gl@)l7, the Court excludes tirrrc$‘ml CLEK ms AWE;Y COH RN,A
Trial Act from Cl/ § ZO\`T ,to fbi 3/ 2017 , and finds that the ends of _]ust1ce served by
continuance outweigh the best interest of the public and the defendant in a speedy trial. See 18 U. S. C. §
3 l 61(11)(7)(A). The Court makes this finding and bases this continuance on the following factors:

Failure to grant a continuance Would be likely to result in a miscarriage of justice.
See 18 U.S.C. § 3161(h)(7)(B)(1).

The case is so unusual or so complex, due to [ circle applicable reasons] the number of
defendants, the nature of the prosecution, or the existence of novel questions of fact

or law, that it is unreasonable to expect adequate preparation for pretrial proceedings or the trial
itself Within the time limits established by this section. See 18 U.S.C. § 3161(h)(7)(B)(ii).

Failure to grant a continuance Would deny the defendant reasonable time to obtain counsel,

taking into account the exercise of due diligence. See 18 U.S.C. § 3161(h)(7)(B)(iv).
Failure to grant a continuance Would unreasonably deny the defendant continuity of counsel, given

counsel‘s other scheduled case commitments, taking into account the exercise of due diligence.

\/See 18 U. S. C. § 3161(h)(7)(B)(1v)

Failure to grant a continuance Would unreasonably deny the defendant the reasonable time
necessary for effective preparation, taking into account the exercise of due diligence
See 18 U.S.C. § 3161(h)(7)(B)(iv).

For the reasons stated on the record, it is further ordered that time is excluded under 18 U.S.C. §
3161(b) and Waived with the consent of the defendant under Federal Rules of Criminal Procedure
5.1(c) and (d).

For the reasons stated on the record, it is further ordered that time is excluded under 18 U.S.C. §
3161(h)(l)(E)(F) for delay resulting from removal/transport of the defendant to another district

IT IS SO ORDERED. \H . M
DATED: ft zgz{ Z a/UM Q§EZ:{:.¢
I¢andis A. Westmore
United States Magistrate Judge

f
STIPULATED; Z§Age§§ § ;QM¢.»J-/_ §_?/é;¢¢§ ¢é kg (; 2
orney fo efendant Ass` ant Unite States Attorney

